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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                                 )
                                                           )
                                 Plaintiff,                )
                                                           )
                            v.                             )     No. 1:16-cr-00150-TWP-DML
                                                           )
 CLIFFORD KIRKSEY-ROBINSON,                                ) -03
                                                           )
                                 Defendant.                )

                     ORDER ADOPTING REPORT AND RECOMMENDATION

         On December 22, 2020, the Magistrate Judge submitted his Report and Recommendation regarding

 the United States Probation Office's Petition for Warrant or Summons for Offender Under Supervision

 (Dkt. 181). The parties were afforded due opportunity pursuant to statute and the rules of this Court to file

 objections; none were filed. The Court, having considered the Magistrate Judge's Report and

 Recommendation, hereby adopts the Magistrate Judge's Report and Recommendation.

         IT IS SO ORDERED.

         Date:    1/11/2021


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